Case: 6:10-cr-00010-GFVT-HAI             Doc #: 347 Filed: 03/10/16           Page: 1 of 8 - Page
                                           ID#: 1390



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                  )
                                            )
      Plaintiff,                            )
                                            )        No. 6:10-CR-10-GFVT-HAI-4
 v.                                         )
                                            )      RECOMMENDED DISPOSITION
 BRANDEN RAY SUTTON,                        )
                                            )
      Defendant.                            )
                                            )
                                            )
                                  *** *** *** ***
     The Court, on referral (D.E. 344), considers reported violations of supervised release

conditions by Defendant Branden Sutton. District Judge Van Tatenhove entered a judgment

against Defendant on February 24, 2011, for conspiracy to distribute oxycodone, a schedule II

controlled substance, in violation of 21 U.S.C. §§ 846 and 841. D.E. 220. Defendant received a

sentence of sixty-five months of imprisonment followed by a thirty-six month term of supervised

release. Id. at 2-3. Defendant began his supervised release term on January 28, 2014.

       On October 1, 2014, the USPO issued a Supervised Release Violation Report (“the First

Report”), and secured a warrant from Judge Van Tatenhove.                The First Report charged

Defendant, in Violations #1 and #3, with violating Standard Condition No. 7, which provides

that “[t]he defendant . . . shall not purchase, possess, use, distribute, or administer any controlled

substance . . . except as prescribed by a physician.” The First Report also charged Defendant, in

Violations #2 and #4, with violating the condition of his supervision which provides that “[t]he

defendant shall not commit another federal, state, or local crime.” The underlying factual bases

for these charges were two separate positive urine drug tests for the presence of oxycodone.
Case: 6:10-cr-00010-GFVT-HAI           Doc #: 347 Filed: 03/10/16         Page: 2 of 8 - Page
                                         ID#: 1391



       At the outset of the final supervised release hearing on October 29, 2014, Defendant

stipulated to the charged violations. D.E. 314. Based upon the agreement of the parties, the

Court recommended revocation of supervised release and a term of imprisonment of one month.

D.E. 315. Moreover, the Court recommended reimposition of supervised release for a period of

thirty-six months under the conditions previously imposed with the modification that Defendant,

as soon as possible upon release, complete a residential substance abuse treatment program. Id.

Judge Van Tatenhove adopted the undersigned’s recommended disposition. D.E. 322.

       On February 19, 2016, the USPO issued a Supervised Release Violation Report (“the

Second Report”) charging Defendant with two violations of his supervised release, and secured a

warrant from Judge Van Tatenhove. The Second Report notes that, upon his release from his

first revocation term, Defendant successfully completed a 90-day residential drug treatment

program, and participated in outpatient substance abuse counseling for 7-8 months thereafter.

The Second Report alleges, in Violation #1, that Defendant again violated Standard Condition

No. 7 of his supervised release. Specifically, the Second Report alleges that, on February 12,

2016, Defendant provided a urine specimen that tested positive for oxycodone via instant testing

device. This test result was confirmed on February 15, 2016. This is a Grade C Violation.

Further, based on this admission, the Second Report also charges, in Violation #2, that Defendant

again violated the condition of his release that requires “[t]he Defendant shall not commit

another federal, state, or local crime.” The Second Report reasons that, with Defendant’s prior

felony drug conviction, and pursuant to Sixth Circuit case law holding that the use of a

controlled substance is the equivalent of possessing the controlled substance, simple possession

of oxycodone constitutes a violation of 21 U.S.C. § 844(a). This is a Grade B Violation.


                                               2
Case: 6:10-cr-00010-GFVT-HAI           Doc #: 347 Filed: 03/10/16          Page: 3 of 8 - Page
                                         ID#: 1392



       The Court conducted an initial appearance pursuant to Rule 32.1 on March 3, 2016, and

set a final hearing following a knowing, voluntary, and intelligent waiver of the right to a

preliminary hearing. D.E. 343. At the initial appearance, the United States made an oral motion

for interim detention, and Defendant did not object. Id. The Court found that detention was

appropriate as Defendant did not carry the heavy release burden imposed upon him under Rule

32.1(a)(6) and 18 U.S.C. § 3143(a). Id.

       At the final hearing on March 9, 2016, Defendant was afforded all rights due under Rule

32.1 and 18 U.S.C. § 3583. D.E. 346. Defendant competently entered a knowing, voluntary, and

intelligent stipulation to the charged violations.   Id.   Further, for purposes of Rule 32.1

proceedings, Defendant admitted the factual basis for the violations described in the Second

Report. In the Supervised Release context, the Sixth Circuit treats controlled substance use as

equivalent to possession. See United States v. Crace, 207 F.3d 833, 836 (6th Cir. 2000). The

United States thus established Violations #1 and #2 under the standard of section 3583(e).

       The Court has evaluated the entire record, including the materials from Defendant’s prior

revocation, the Second Report and accompanying documents, and the sentencing materials from

the underlying Judgment in this District. Additionally, the Court has considered all of the

section 3553 factors imported into the section 3583(e) analysis. Under section 3583(e)(3), a

defendant’s maximum penalty for a supervised release violation hinges on the gravity of the

underlying offense of conviction. Defendant plead guilty to conspiracy to distribute oxycodone

in violation of 21 U.S.C. § 846, which is a Class C felony. See 21 U.S.C. § 841; 18 U.S.C. §

3559. For a Class C felony, the maximum revocation sentence provided under section 3583(e) is

twenty-four months of imprisonment. See 18 U.S.C. § 3583(e)(3). The Policy Statements in

Chapter 7 of the Guidelines provide advisory imprisonment ranges for revocation premised on
                                              3
Case: 6:10-cr-00010-GFVT-HAI            Doc #: 347 Filed: 03/10/16          Page: 4 of 8 - Page
                                          ID#: 1393



criminal history (at the time of original sentencing) and the “grade” of the particular violation

proven.   See United States v. Perez-Arellano, 212 F. App’x. 436, 438-39 (6th Cir. 2007)

(“Although the policy statements found in Chapter Seven of the United States Sentencing

Guidelines recommend ranges of imprisonment, U.S.S.G. § 7B1.4, such statements ‘are merely

advisory’ and need only be considered by the district court before sentence is imposed.”)

(citation omitted). Under 7B1.1, Defendant’s admitted conduct would qualify as a Grade C

violation with respect to Violation #1, and a Grade B violation with respect to Violation #2.

Given Defendant’s criminal history category of III (the category at the time of the conviction in

this District) and a Grade B violation, see U.S.S.G. § 7B1.2(b) (“Where there is more than one

violation of the conditions of supervision, or the violation includes conduct that constitutes more

than one offense, the grade of the violation is determined by the violation having the most

serious grade.”), Defendant’s Range, under the Revocation Table of Chapter 7, is eight to

fourteen months.

       Based on Defendant’s stipulation, the United States recommended revocation and a term

of imprisonment of twelve months with a twenty-four month period of supervised release to

follow. In support of this recommendation, counsel for the United States pointed out that the

nature and circumstances of Defendant’s underlying conviction were serious. He argued that

distribution of oxycodone has a severe impact on society, and Defendant’s return to the use of

the drug poses a significant threat to public safety. Moreover, counsel stated that Defendant has

repeatedly breached the Court’s trust despite significant leniency given to him in the past.

Finally, counsel asserted that a term of supervision is necessary in order to monitor Defendant

and to further ensure public safety.


                                                4
Case: 6:10-cr-00010-GFVT-HAI            Doc #: 347 Filed: 03/10/16           Page: 5 of 8 - Page
                                          ID#: 1394



       Defense counsel recommended revocation and a term of imprisonment of fourteen

months with no term of supervised release to follow. In support of this recommendation, counsel

argued that Defendant is an honest, forthcoming individual who has taken responsibility for his

actions.   He acknowledged that Defendant has been afforded significant drug treatment

opportunities, but none have been ultimately successful. Thus, defense counsel asserted that a

term of supervised release would not be an effective use of government resources.

       At the outset, the Court notes that Congress does mandate revocation in a case of this

nature. By statute, the Court must revoke Defendant’s release because he possessed a controlled

substance. See 18 U.S.C. § 3583(g)(1); see also Crace, 207 F.3d at 836 (equating use with

possession). The Sixth Circuit clearly and repeatedly has equated drug use with drug possession,

and Defendant’s admitted use in this context undoubtedly results in application of section

3583(g)(1).   See United States v. Metcalf, 292 F. App’x 447, 450 n.2 (6th Cir. 2008)

(“Mandatory revocation was . . . warranted under § 3583(g)(1), as we have held that use of a

controlled substance constitutes possession under that subsection.”).

       To determine an appropriate revocation term of imprisonment, the Court has considered

all the statutory factors imported into the section 3583(e) analysis, as well as the Guidelines

Range. The Court has carefully weighed the nature and circumstances of the offense and the

need to protect public safety.      The nature and circumstances of Defendant’s underlying

conviction are very serious. See United States v. Johnson, 640 F.3d 195, 203 (6th Cir. 2001)

(explaining that this sentencing factor focuses upon the original offense rather than the violations

of supervised release). While Defendant has not returned to the trafficking of oxycodone, he has

again returned to abuse of the drug. This use represents a considerable threat to public safety,

and thus a significant term of imprisonment is warranted.
                                                5
Case: 6:10-cr-00010-GFVT-HAI            Doc #: 347 Filed: 03/10/16          Page: 6 of 8 - Page
                                          ID#: 1395



       Defendant’s history and characteristics indicate a very severe drug problem.           This

problem has placed a significant burden on Defendant’s life and is the cause of his repeated

criminal actions. Defendant has been afforded substantial opportunities to treat his addiction,

including completing the RDAP program and an inpatient program while on release, and by all

accounts, Defendant appears to be a likeable, hardworking individual. However, as his actions

have shown, he has not been able to remain clean. If Defendant continues down this path, he

will remain a danger to himself and to the public, and likely will serve significant imprisonment

terms again.

       The Court reminds Defendant that the Guidelines suggest that the primary wrong in the

supervised release context is the violation of the Court’s trust by an offender; the particular

conduct is an important but secondary issue. See Guidelines 7 Pt. A(3)(b) (“[A]t revocation the

court should sanction primarily the defendant’s breach of trust, while taking into account, to a

limited degree, the seriousness of the underlying violation and the criminal history of the

violator.”) The Court must impose a sentence that is sufficient, but not greater than necessary, to

address Defendant’s breach of trust and the other statutory goals imported into section 3583(e).

       Defendant has breached the Court’s trust in a significant and particularly worrisome

manner. He has a severe drug addiction, and his repeated violations after being granted leniency

are troubling. At Defendant’s original sentencing, Judge Van Tatenhove was lenient in the form

of a significant downward departure, and, on his prior revocation, the Court departed downward

and allowed Defendant to complete a residential substance abuse program.            Each of these

represents a significant amount of trust placed in Defendant by the Court. Yet, despite this,

Defendant has again violated the conditions of his release. Therefore, a sentence at the top of the

Guidelines Range is warranted.
                                                6
Case: 6:10-cr-00010-GFVT-HAI            Doc #: 347 Filed: 03/10/16           Page: 7 of 8 - Page
                                          ID#: 1396



       Thus, the Court recommends revocation and a term of imprisonment of fourteen months.

For the reasons stated above, the Court finds this sentence is sufficient but not greater than

necessary to meet the section 3553(a) factors incorporated into this analysis. See 18 U.S.C. §

3583(e). Moreover, the need to avoid unwarranted sentencing disparities among defendants with

similar records who have committed similar violations is addressed by the recommendation of a

sentence within Defendant’s Guidelines Range.

       A court also may reimpose supervised release, following revocation, for a maximum

period that usually subtracts any term of incarceration actually imposed due to the violation. See

18 U.S.C. § 3583(b) & (h). The post-revocation cap depends on the “term of supervised release

authorized by statute for the offense that resulted in the original term of supervised release.” See

18 U.S.C. § 3583(h). The general supervision term limits of section 3583(b) apply “[e]xcept as

otherwise provided.” See id. § 3583(b). Defendant’s conviction under 21 U.S.C. § 841 carried

no maximum term of supervised release. Under section 3583(h), the maximum term at this point

remains life. 18 U.S.C. § 3583(h). The Court recommends that no term of supervised release be

imposed following Defendant’s term of imprisonment. The Defendant needs to overcome his

severe drug addiction, however, he has been afforded all the resources that the Court can

provide. The Court can fathom no conditions, other than inpatient treatment which has not

worked, that would significantly reduce the risk of continued drug abuse so as to either benefit

the public or Defendant.      Therefore, a term of supervised release would be a waste of

government resources and would not measurably protect the public.

       Based on the foregoing, the Court RECOMMENDS revocation and a term of

imprisonment of fourteen months with no supervised release to follow.


                                                 7
Case: 6:10-cr-00010-GFVT-HAI            Doc #: 347 Filed: 03/10/16          Page: 8 of 8 - Page
                                          ID#: 1397



       Defendant’s right of allocution under Rule 32.1 is preserved, as reflected in the record.

Any waiver should comport with the Court’s standard waiver form, available from the Clerk.

Absent waiver, the matter will be placed on Judge Van Tatenhove’s docket upon submission.

       The Court directs the parties to 28 U.S.C. § 636(b)(1) for appeal rights concerning this

recommendation, issued under subsection (B) of the statute. See also 18 U.S.C. § 3401(i). As

defined by section 636(b)(1), within fourteen days after being served with a copy of this

recommended decision, any party may serve and file written objections to any or all portions for

consideration, de novo, by the District Court. Failure to make timely objection consistent with

the statute and rule may, and normally will, result in waiver of further appeal to or review by the

District Court and Court of Appeals. See United States v. Walters, 638 F.2d 947, 950 (6th Cir.

1981); Thomas v. Arn, 106 S. Ct. 466 (1985).

       This the 10th day of March, 2016.




                                                8
